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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

AARON SANDERS, and JULIE                        §
SANDERS, Individually and as Next               §
Friends of E.S., a Minor; J.S.; a Minor,        §
W.S., a Minor, and A.S., a Minor,               §
                                                §      CIVIL ACTION NO. ____________
       Plaintiffs,                              §
                                                §
v.                                              §
                                                §
POLARIS INDUSTRIES, INC.;                       §
POLARIS INDUSTRIES, INC.; and                   §
POLARIS SALES INC.,                             §

       Defendants.
                          PLAINTIFFS’ ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Plaintiffs Aaron Sanders and Julie Sanders, both Individually and as

Friends of their minor children, E.S., J.S., W.S., and A.S., and hereby file this Original Complaint

against Defendants Polaris Industries, Inc., Polaris Industries, Inc., and Polaris Sales, Inc.,

collectively herein referred to as “Defendants” or “Polaris”. In doing so, Plaintiffs respectfully

show the Court the following:

                                               I.
                                             PARTIES

       1.01    Plaintiff Aaron Sanders is a citizen and resident of Lampasas, Lampasas County,

Texas. Mr. Sanders is the biological father of minors E.S., J.S., W.S., and A.S.

       1.02    Plaintiff Julie Sanders is a citizen and resident of Lampasas, Lampasas County,

Texas. Mrs. Sanders is the biological mother of minors E.S., J.S., W.S., and A.S.




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         1.03   At the time of the crash at issue, Plaintiff E.S., a minor, was a citizen and resident

of Lampasas, Lampasas County, Texas. Plaintiff is the biological son of Aaron and Julie Sanders.

         1.04   At the time of the crash at issue, Plaintiff J.S., a minor, was a citizen and resident

of Lampasas, Lampasas County, Texas. Plaintiff is the biological son of Aaron and Julie Sanders.

         1.05   At the time of the crash at issue, Plaintiff W.S., a minor, was a citizen and resident

of Lampasas, Lampasas County, Texas. Plaintiff is the biological son of Aaron and Julie Sanders.

         1.06   At the time of the crash at issue, Plaintiff A.S., a minor, was a citizen and resident

of Lampasas, Lampasas County, Texas. Plaintiff is the biological son of Aaron and Julie Sanders.

         1.07   Defendant Polaris Industries, Inc., (“Polaris Industries”), is a Minnesota

corporation with its principle place of business in Medina, Minnesota. Polaris Industries does

business in Texas and is subject to personal jurisdiction in Texas. Although it engages in business

in this state, it does not maintain a regular place of business in this state or a designated agent for

service of process. This case arises from Polaris Industries’ business in Texas. Accordingly,

service may be made by duplicate copies of process on the Texas Secretary of State, and the Texas

Secretary of State forwarding a copy of the process by registered mail or by certified mail, return

receipt requested, to Polaris Industries’ home office: Scott W. Wine, Chief Executive Officer,

POLARIS INDUSTRIES, INC., 2100 Highway 55, Medina, Minnesota 55340.

         1.08   Defendant Polaris Industries, Inc. (“Polaris of Delaware”) is a Delaware

corporation with its principal place of business in Minnesota. Polaris of Delaware does

business in Texas and is subject to personal jurisdiction in Texas. It may be served with process

through its registered agent, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas

75201.




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       1.09    Defendant Polaris Sales, Inc. (“Polaris Sales”) is a Minnesota corporation with its

principal place of business in Minnesota. Polaris Sales does business in Texas and is subject to

personal jurisdiction in Texas. It may be served with process through its registered agent: CT

Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

                                              II.
                                    VENUE AND JURISDICTION

       2.01    Since complete diversity of citizenship exists between the parties, and the matter in

controversy exceeds the sum of seventy-five thousand dollars ($75,000), exclusive of interest and

costs, this court has diversity jurisdiction under 28 U.S.C. 1332.

       2.02    Venue is proper in the Western District of Texas, pursuant to 28 U.S.C. § 1391, as

a substantial part of the events or omission giving rise to the claim occurred in Lampasas County,

Texas, which is in the Western District—Austin Division. Plaintiffs would show that the product

(“Vehicle”) made basis of this suit was purchased through Hoffpauir Incorporated, which is

headquartered in Lampasas, Lampasas County, Texas. Additionally, Plaintiffs are residents of

Lampasas County.

                                             III.
                                     FACTUAL BACKGROUND

       3.01    The incident made basis of this suit involves a family riding in an off-road vehicle

while vacationing in Colorado. On or about September 16, 2020, Aaron Sanders was operating his

2017 Polaris Ranger XP 1000, VIN No. 4XARUE993H8030153, herein after referred to as “the

Ranger” or “the Vehicle,” on County Road 9A in San Juan County, Colorado.




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       3.02    Riding in the Ranger at the time was his wife Julie, and their four minor children:

E.S., J.S., W.S., and A.S. The Ranger is a six (6) occupant vehicle. The position of each occupant

at the time of the incident made basis of this suit is as follows:




                               Aaron           A.S          Julie
                              Sanders                      Sanders
                                 1              2             3



                                J.S.          E.S.           W.S.

                                 4              5              6




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       3.03    Everyone in the Ranger was belted, and all but Mr. Sanders were wearing a helmet.

While attempting to navigate a slight curve in the roadway, the vehicle drifted to right and the

passenger-side tires slid off the road. Mr. Sanders applied the brakes and attempted to steer the

Ranger back onto the roadway. However, the brakes failed to engage and the steering system failed

to direct the Ranger back on to the road. The Ranger completely left the roadway and rolled several

times down the side of the hill, for approximately 200ft, and over an 18ft cliff before landing

upright on County Road 2.




       As a result of this horrific incident, Plaintiffs suffered serious injuries.

                                          IV.
              STRICT LIABILITY AND NEGLIGENCE CLAIMS AGAINST DEFENDANTS

       4.01    The Vehicle at issue in this suit was designed, tested, manufactured, constructed,

marketed, distributed, sold and/or placed into the stream of commerce by and through the agents

and/or representatives of Polaris.



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        4.02      Polaris was regularly engaged in the business of supplying or placing products,

like the Vehicle in question, in the stream of commerce for use by the consuming public, including

Plaintiffs. Further, such conduct was solely for commercial purposes.

        4.03      The Vehicle in question remained unchanged from the time it was originally

manufactured, distributed and sold by Polaris until it reached Plaintiffs and ultimately led to their

injuries. Stated another way, the Vehicle in question was defective and in an unreasonably

dangerous condition at all times until it ultimately caused the injuries and damages asserted herein.

        4.04      At the time the Vehicle was placed into the stream of commerce, it was, or should

have been, reasonably expected and foreseeable that the Vehicle would be used by persons such

as Plaintiffs in the manner and application in which it was being used at the time Plaintiffs suffered

their injuries.

        4.05      There were no mandatory safety standards or regulations adopted and promulgated

by the federal government or an agency of the federal government that were applicable to the

Vehicle at the time of manufacture and that governed the product risk that allegedly caused harm.

Alternatively, the design of the Vehicle did not comply with mandatory safety standards or

regulations adopted by the federal government that were applicable to the vehicle model at the

time of the manufacture and governed the risks that caused Plaintiffs’ injuries. Again, in the

alternative, in the event that such standards were in effect, and they were complied with, they were

nonetheless inadequate to protect the public from unreasonable risks of injury or danger, or the

manufacturer, before or after marketing the Vehicle, withheld or misrepresented the information

or material irrelevant to the federal governments or agencies determination of adequacy of the

safety standards or regulations at issue in the action.




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       4.06    With respect to the design of the Vehicle, at the time it left the control of Polaris,

there were safer alternative designs. Specifically, there were alternative designs that, in reasonably

probability, would have prevented or significantly reduced the risk of injury to Plaintiffs.

Furthermore, such safer alternative designs were economically and technologically feasible at the

time the product left the control of Polaris by the application of existing or reasonably achievable

scientific knowledge.

       4.07    At the time the Vehicle left the Polaris’ control, it was defective and unreasonably

dangerous in that it was not adequately designed, manufactured, or marketed to minimize the risk

of injury. By way of example and without limitation, the product in question was unreasonably

and dangerously defective in the following ways:

       a.      the brake system was defectively designed, manufactured, and marketed because it
               failed to engage during the reasonable and foreseeable use of the Vehicle resulting
               in a foreseeable accident;

       b.      the steering system defectively designed, manufactured, and marketed because it
               failed to engage during the reasonable and foreseeable use of the vehicle resulting
               in a foreseeable accident;

       c.      failing to incorporate an emergency braking system; and

       d.      the warnings and instructions for the Vehicle were inadequate.

       4.08    The above unreasonably dangerous defects in the Vehicle in question were the

proximate and producing cause of Plaintiffs’ injuries and damages.

       4.09    Polaris breached its duty of care and was thus negligent by:

       a.      designing, marketing, and distributing the Polaris Ranger XP 1000 model with a
               design standard that was intended to meet the minimum government regulations,
               instead of safely designing the vehicle to reasonably minimize injuries in
               foreseeable accidents;

       b.      failing to adequately monitor the performance of Defendants’ vehicles in the field
               to ensure that they were reasonably minimizing injuries in foreseeable accidents;



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       c.      failing to adequately test the Polaris Ranger XP 1000 model to ensure that it would
               be reasonably safe in foreseeable accidents;

       d.      failing to adequately design and test the brake system for the Polaris Ranger XP
               model to ensure that it would perform as intended and would be reasonably safe
               during a foreseeable use;

       e.      failing to design the braking system in compliance with Federal Motor Vehicle
               Safety Standards;

       f.      failing to adequately design and test the emergency brake system for the Polaris
               Ranger XP model to ensure that it would perform as intended and would be
               reasonably safe during a foreseeable use;

       g.      failing to design the emergency braking system in compliance with Federal Motor
               Vehicle Safety Standards;

       h.      failing to adequately design and test the Polaris Ranger XP 1000 model’s steering
               system to ensure that it would perform as intended and be reasonably safe during
               foreseeable use;

       i.      designing and manufacturing the Polaris Ranger XP 1000 model’s braking and/or
               steering systems that were defective and dangerous;

       j.      failing to provide adequate warnings and instructions with the Polaris Ranger XP
               1000 model;

       k.      failing to provide adequate post-sale warnings, recalls or retrofits after Polaris
               knew, or should have known, that the Polaris Ranger XP 1000 model was defective
               and unreasonably dangerous;

       l.      failing to design the steering system in compliance with Federal Motor Vehicle
               Safety Standards; and

       m.      failing to recall, retrofit, or issue post-sale warnings after Defendants knew, or
               should have known, that the Polaris Ranger XP 1000 model was defective and
               unreasonably dangerous.

       4.10    The above-listed negligent acts and/or omissions were a proximate and producing

cause of the injuries and damages alleged by Plaintiffs.




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                                                 V.
                                             DAMAGES

       5.01    As a proximate result of the negligence of Defendants described above, Plaintiffs

Aaron Sanders and Julie Sanders, both individually and as Next friends of E.S., J.S., W.S., and

A.S., are entitled to bring this cause of action for all damages suffered as a result of the injuries

sustained in the incident made basis of this suit, including but not limited to:

               a.      Past and future medical expenses;

               b.      Past and future lost wages;

               c.      Past and future pain and suffering;

               d.      Past and future mental anguish;

               e.      Past and future disfigurement; and

               f.      Past and future impairment.

       5.02    Plaintiffs were all witnesses to what occurred to one another in during this horrific

incident. Each were in close proximity to one another and had sensory observations of their horrific

injuries. Accordingly, each are entitled to recover mental anguish damages as a bystander to the

injuries suffered by their family members involved in this incident.

                                             VI.
                                      EXEMPLARY DAMAGES

       6.01    Plaintiffs allege that each and every negligent act or omission of Polaris and its

agents, as set forth above, when viewed objectively from the standpoint of policymakers, involved

an extreme degree of risk, considering the probability and magnitude of the physical harm to others

and that Polaris had actual subjective awareness of the risks involved, but nevertheless proceeded

with conscious indifference to the rights, safety or welfare of Plaintiffs and other passengers like

them and as such, such conduct amounts to gross negligence or malice, as those terms are defined



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by law, so as to give rise to an award of exemplary or punitive damages, for which Plaintiffs now

plead against Polaris. Additionally, by reason of such conduct, Plaintiffs are entitled to and

therefore assert a claim for punitive and exemplary damages in an amount sufficient to punish and

deter Polaris, and other corporations like it, from such conduct in the future.

                                          VII.
                        PRE-JUDGMENT AND POST-JUDGMENT INTEREST

        7.01    Plaintiffs claim pre-judgment and post-judgment interest at the maximum rate

allowed by law.

                                               VIII.
                                           JURY DEMAND

        8.01    Plaintiffs respectfully request that the Court impanel a jury to decide all fact issues

in this case.

                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that Defendants be cited to

appear and answer this Complaint and that upon final hearing, Plaintiffs recover judgment against

Defendants for their damages as they appear at trial hereof together with costs of court,

prejudgment and post-judgment interest, and for such general and equitable relief as Plaintiffs may

be entitled.



                                               Respectfully Submitted,

                                               /s/ James L. Mitchell
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